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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                ATLANTA DIVISION


    In re: HICKS, DIONTAE CORTEZ                               §    Case No. 18-64019-BEM
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 08/21/2018. The
    undersigned trustee was appointed on 10/13/2020.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $            8,657.35
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                        0.00
                            Administrative expenses                                      0.00
                            Bank service fees                                           35.45
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $            8,621.90
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 01/19/2021 and the deadline for filing
    governmental claims was 01/17/2021. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $1,531.47. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $1,531.47, for a
    total compensation of $1,531.472. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $44.66 for total expenses of
    $44.662.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 01/28/2021                                     By: /s/ S. Gregory Hays
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                               Form 1
                                                                                                                                                               Exhibit A
                                           Individual Estate Property Record and Report                                                                        Page: 1

                                                            Asset Cases
Case No.:    18-64019-BEM                                                                          Trustee Name:      (300320) S. Gregory Hays
Case Name:         HICKS, DIONTAE CORTEZ                                                           Date Filed (f) or Converted (c): 08/21/2018 (f)
                                                                                                   § 341(a) Meeting Date:       09/25/2018
For Period Ending:         01/28/2021                                                              Claims Bar Date:      01/19/2021

                                       1                                   2                      3                      4                    5                     6

                           Asset Description                            Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)              Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                         Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                        Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                                   and Other Costs)

    1       199 Eastman Paulk Rd., Ambrose, GA                           10,000.00                         0.00         OA                         0.00                          FA
            31512-0000, Coffee County
            Land. Entire property value: $10,000.00

    2       2013 Chevrolet Malibu, 89000 miles                             8,000.00                        0.00         OA                         0.00                          FA
            Entire property value: $8,000.00
            WILL SURRENDER

    3       Household Items                                                1,500.00                        0.00         OA                         0.00                          FA

    4       Clothing                                                           300.00                      0.00         OA                         0.00                          FA

    5       Cash                                                               100.00                      0.00         OA                         0.00                          FA

    6       Checking: Suntrust                                                 250.00                      0.00         OA                         0.00                          FA

    7       Wells Fargo Recovery (u)                                       8,657.35                    8,657.35                               8,657.35                           FA
            Financial reimbursement relating to unnecessary
            collateral protection insurance charged on an auto loan
            in year 2008 that may have led to a repossession.


    7       Assets Totals (Excluding unknown values)                    $28,807.35                    $8,657.35                              $8,657.35                     $0.00



 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 06/30/2021                               Current Projected Date Of Final Report (TFR):             01/28/2021 (Actual)


                        01/28/2021                                                                      /s/S. Gregory Hays
                             Date                                                                       S. Gregory Hays




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                                                                 Form 2                                                                                Exhibit B
                                                                                                                                                       Page: 1
                                                 Cash Receipts And Disbursements Record
Case No.:              18-64019-BEM                                       Trustee Name:                     S. Gregory Hays (300320)
Case Name:             HICKS, DIONTAE CORTEZ                              Bank Name:                        East West Bank
Taxpayer ID #:         **-***9975                                         Account #:                        ******0344 Checking
For Period Ending:     01/28/2021                                         Blanket Bond (per case limit):    $31,525,000.00
                                                                          Separate Bond (if applicable):    N/A

    1            2                      3                                         4                               5                       6                        7

  Trans.    Check or       Paid To / Received From            Description of Transaction        Uniform       Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                            Tran. Code       $                         $

 10/13/20     {7}      Wells Fargo Auto                   Financial reimbursement relating     1229-000               8,657.35                                         8,657.35
                                                          to unnecessary collateral
                                                          protection insurance charged on
                                                          an auto loan in year 2008 that may
                                                          have led to a repossession.
 10/30/20              East West Bank                     Bank and Technology Services         2600-000                                        6.91                    8,650.44
                                                          Fees
 11/30/20              East West Bank                     Bank and Technology Services         2600-000                                       13.36                    8,637.08
                                                          Fees
 12/31/20              East West Bank                     Bank and Technology Services         2600-000                                       15.18                    8,621.90
                                                          Fees

                                            COLUMN TOTALS                                                             8,657.35                 35.45                   $8,621.90
                                                   Less: Bank Transfers/CDs                                               0.00                  0.00
                                            Subtotal                                                                  8,657.35                 35.45
                                                   Less: Payments to Debtors                                                                    0.00

                                            NET Receipts / Disbursements                                          $8,657.35                   $35.45




{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                       ! - transaction has not been cleared
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                                                       Form 2                                                                Exhibit B
                                                                                                                             Page: 2
                                       Cash Receipts And Disbursements Record
Case No.:           18-64019-BEM                             Trustee Name:                   S. Gregory Hays (300320)
Case Name:          HICKS, DIONTAE CORTEZ                    Bank Name:                      East West Bank
Taxpayer ID #:      **-***9975                               Account #:                      ******0344 Checking
For Period Ending: 01/28/2021                                Blanket Bond (per case limit): $31,525,000.00
                                                             Separate Bond (if applicable): N/A

                                       Net Receipts:            $8,657.35
                            Plus Gross Adjustments:                 $0.00
                           Less Payments to Debtor:                 $0.00
                 Less Other Noncompensable Items:                   $0.00

                                         Net Estate:            $8,657.35




                                                                                                NET                     ACCOUNT
                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS                BALANCES
                                 ******0344 Checking                             $8,657.35           $35.45                  $8,621.90

                                                                                 $8,657.35                    $35.45          $8,621.90




                 01/28/2021                                          /s/S. Gregory Hays
                    Date                                             S. Gregory Hays




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                                                           Exhibit C
                                                 Analysis of Claims Register
                                Case:18-64019-BEM                       DIONTAE C. HICKS
                                                                                   Claims Bar Date: 01/19/21


 Claim                 Claimant Name/                  Claim Type/                   Amount Filed/        Paid          Claim
                                                                       Claim Ref
  No.                <Category>, Priority               Date Filed                     Allowed          to Date        Balance

ADM1     S. Gregory Hays                              Administrative                        $1,531.47          $0.00     $1,531.47
         2964 Peachtree Road, NW, Ste. 555
                                                      01/27/21                              $1,531.47
         Atlanta, GA 30305
         <2100-000 Trustee Compensation>
         , 200

ADM2     S. Gregory Hays                              Administrative                          $44.66           $0.00        $44.66
         2964 Peachtree Road, NW, Ste. 555
                                                      01/19/21                                $44.66
         Atlanta, GA 30305
         <2200-000 Trustee Expenses>
         , 200

ADM3     Hays Financial Consulting, LLC               Administrative                        $1,260.00          $0.00     $1,260.00
         2964 Peachtree Road, NW
                                                      01/19/21                              $1,260.00
         Suite 555
         Atlanta, GA 30305
         <3310-000 Accountant for Trustee Fees
         (Trustee Firm)>
         , 200

ADM4     Hays Financial Consulting, LLC            Administrative                             $77.20           $0.00        $77.20
         2964 Peachtree Road, NW
                                                   01/19/21                                   $77.20
         Suite 555
         Atlanta, GA 30305
         <3320-000 Accountant for Trustee Expenses
         (Trustee Firm)>
         , 200

ADM5     Clerk, United States Bankruptcy Court        Administrative                         $260.00           $0.00       $260.00
         1340 Russell Federal Building
                                                      01/19/21                               $260.00
         75 Ted Turner Drive, SW
         Atlanta, GA 30303
         <2700-000 Clerk of the Court Fees>
         , 200
         Fee to reopen case per Order, Dkt # 27.
2        IRS Insolvency Unit                        Priority                                 $100.00           $0.00       $100.00
         401 W. Peachtree St., NW
                                                    10/21/20                                 $100.00
         Room 400, Stop 334-D
         Atlanta, GA 30308
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570




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                                                           Exhibit C
                                                  Analysis of Claims Register
                                 Case:18-64019-BEM                     DIONTAE C. HICKS
                                                                                  Claims Bar Date: 01/19/21

 Claim                 Claimant Name/                   Claim Type/                 Amount Filed/        Paid          Claim
                                                                      Claim Ref
  No.                <Category>, Priority                Date Filed                   Allowed          to Date        Balance
         Claim filed based on estimate as Debtor did not file a year 2017 tax return. In Trustee's business judgment, no
         objection will be filed as this is a surplus case and Debtor can recover any overpayments from the IRS by filing tax
         returns. Trustee has also been informed by the IRS that they are not capable of filing claim amendments at this time
         due to a system update.
SURPL HICKS, DIONTAE CORTEZ                            Unsecured                              $0.00           $0.00       $842.62
US    540 SADDLE SHOALS DRIVE
                                                       01/28/21                             $842.62
      LAWRENCEVILLE, GA 30046
      <8200-000 Surplus Funds Paid to Debtor
      Section 726(a)(6)>
      , 650

1        Us Dept Veteren Affairs                       Unsecured                           $1,845.07          $0.00     $1,845.07
         Debt Management Center
                                                       10/20/20                            $1,845.07
         Po Box 11930
         St Paul, MN 55111
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

1I       Us Dept Veteren Affairs                       Unsecured                                N/A           $0.00       $117.54
         Debt Management Center
                                                       01/28/21                             $117.54
         Po Box 11930
         St Paul, MN 55111
         <7990-000 Surplus Case Interest on
         Unsecured Claims (including priority)>
         , 640

2I       IRS Insolvency Unit                           Unsecured                                N/A           $0.00         $6.37
         401 W. Peachtree St., NW
                                                       01/28/21                               $6.37
         Room 400, Stop 334-D
         Atlanta, GA 30308
         <7990-000 Surplus Case Interest on
         Unsecured Claims (including priority)>
         , 640

3        Capital One Bank (USA), N.A.                  Unsecured                           $2,186.84          $0.00     $2,186.84
         4515 N Santa Fe Ave
                                                       10/27/20                            $2,186.84
         Oklahoma City, OK 73118
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

3I       Capital One Bank (USA), N.A.                  Unsecured                                N/A           $0.00       $139.32
         4515 N Santa Fe Ave
                                                       01/28/21                             $139.32
         Oklahoma City, OK 73118
         <7990-000 Surplus Case Interest on
         Unsecured Claims (including priority)>
         , 640


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                                                           Exhibit C
                                                  Analysis of Claims Register
                                 Case:18-64019-BEM                     DIONTAE C. HICKS
                                                                                  Claims Bar Date: 01/19/21

 Claim                 Claimant Name/                   Claim Type/                 Amount Filed/        Paid          Claim
                                                                      Claim Ref
  No.                <Category>, Priority                Date Filed                   Allowed          to Date        Balance

4        Georgia Power Company                         Unsecured                            $198.18           $0.00       $198.18
         2500 Patrick Henry Pkwy
                                                       12/05/20                             $198.18
         BIN 80003
         MCDONOUGH, GA 30253
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

4I       Georgia Power Company                         Unsecured                                N/A           $0.00        $12.63
         2500 Patrick Henry Pkwy
                                                       01/28/21                              $12.63
         BIN 80003
         MCDONOUGH, GA 30253
         <7990-000 Surplus Case Interest on
         Unsecured Claims (including priority)>
         , 640


                                                                                         Case Total:          $0.00     $8,621.90




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                                    TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                              Exhibit D


    Case No.: 18-64019-BEM
    Case Name: DIONTAE C. HICKS
    Trustee Name: S. Gregory Hays

                                                      Balance on hand:      $                              8,621.90

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                         Claim       Allowed            Interim         Proposed
  No.                                                      Asserted       Amount           Payments           Payment
                                                                          of Claim           to Date


                                                         None


                                                  Total to be paid to secured creditors:       $                   0.00
                                                  Remaining balance:                           $               8,621.90

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                          Total            Interim         Proposed
                                                                        Requested          Payments           Payment
                                                                                             to Date

  Trustee, Fees - S. Gregory Hays                                          1,531.47                0.00        1,531.47
  Accountant for Trustee, Fees - Hays Financial Consulting, LLC            1,260.00                0.00        1,260.00
  Accountant for Trustee, Expenses - Hays Financial Consulting, LLC             77.20              0.00          77.20
  Charges, U.S. Bankruptcy Court                                             260.00                0.00         260.00
  Trustee, Expenses - S. Gregory Hays                                           44.66              0.00          44.66
                        Total to be paid for chapter 7 administrative expenses:                $               3,173.33
                        Remaining balance:                                                     $               5,448.57

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                    Total             Interim           Proposed
                                                                      Requested         Payments          Payment

                                                         None


                      Total to be paid for prior chapter administrative expenses:              $                   0.00
                      Remaining balance:                                                       $               5,448.57




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $100.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  2           IRS Insolvency Unit                                100.00                   0.00                100.00

                                                      Total to be paid for priority claims:      $            100.00
                                                      Remaining balance:                         $          5,348.57

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $4,230.09 have been allowed and will be
      paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
      allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if applicable).

             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1           Us Dept Veteren Affairs                        1,845.07                     0.00              1,845.07
  3           Capital One Bank (USA), N.A.                   2,186.84                     0.00              2,186.84
  4           Georgia Power Company                              198.18                   0.00                198.18
                          Total to be paid for timely general unsecured claims:                  $          4,230.09
                          Remaining balance:                                                     $          1,118.48

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                          Total to be paid for tardily filed general unsecured claims:           $              0.00
                          Remaining balance:                                                     $          1,118.48




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          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                                                 Total to be paid for subordinated claims: $                   0.00
                                                 Remaining balance:                        $               1,118.48

            To the extent funds remain after payment in full of all allowed claims, interest will be paid at the
    legal rate of 2.44% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $275.86. The
    amounts proposed for payment to each claimant, listed above, shall be increased to include the
    applicable interest.
            The amount of surplus returned to the debtor after payment of all claims and interest is $842.62.




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